     Case 3:19-cv-01537-BEN-JLB Document 63 Filed 11/05/20 PageID.5429 Page 1 of 26




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13                                  UNITED STATES DISTRICT COURT
14
                         FOR THE SOUTHERN DISTRICT OF CALIFORNIA
15
16     JAMES MILLER, an individual, et al.,                   Case No. 3:19-cv-01537-BEN-JLB

17                      Plaintiffs,                           PLAINTIFFS’ SUPPLEMENTAL BRIEF
18
       vs.                                                    Date:    October 19, 2020
19                                                            Time:    9:30 a.m.
20     XAVIER BECERRA, in his official                        Courtroom 5A
       capacity as Attorney General of                        Judge:   Hon. Roger T. Benitez
21     California, et al.,
22
                        Defendants.
23
24
25
26
27
28                                                            –i–
             PLAINTIFFS’ SUPPLEMENTAL BRIEF FOLLOWING EVIDENTIARY HEARING ON MOTION FOR PRELIMINARY INJUNCTION
                                                 CASE NO. 3:19-cv-01537-BEN-JLB
     Case 3:19-cv-01537-BEN-JLB Document 63 Filed 11/05/20 PageID.5430 Page 2 of 26




 1                            PLAINTIFFS’ SUPPLEMENTAL BRIEFING
 2             Plaintiffs James Miller, et al. (“plaintiffs”) hereby submit this supplemental
 3     brief as ordered by the Court at the conclusion of the evidentiary hearing on Plaintiffs’
 4     motion for a preliminary injunction, to address evidence presented at the hearing.
 5     A.      CALIFORNIA’S CLAIMED INTEREST IN ITS “ASSAULT WEAPONS” BAN IS
               ILLEGITIMATE AND UNCONSTITUTIONAL UNDER ANY APPROACH.
 6
 7             Plaintiffs maintain that a categorical approach to scrutinizing Defendants’

 8     Roberti-Roos Assault Weapons Control Act of 1989 (AWCA)—looking to the text of
 9     the Second Amendment, and as it may be informed by history and tradition—is most
10     appropriate under District of Columbia et al. v. Heller, 554 U.S. 570 (2008) given that
11     the law categorically prohibits a broad class of firearms in common use for lawful
12     purposes, including self-defense, throughout the vast majority of the United States,
13     and an equally broad array of constitutionally protected lawful conduct. See, e.g., MPI
14     at 11-18, Reply at 1-6, Duncan v. Becerra, 366 F.Supp.3d 1131, 1142, 1149 (S.D. Cal.
15     2019). Plaintiffs likewise maintain that, if tiered scrutiny must be applied, strict
16     scrutiny is most appropriate because the State’s ban strikes at the heart of the Second
17     Amendment. MPI 18-20; Reply 6-8. But California’s broad and irrational “assault
18     weapons” ban fails any level of heightened scrutiny. MPI 20-27, Reply 6-8.
19             The Ninth Circuit has repeatedly held that Second Amendment jurisprudence
20     should be modeled on First Amendment jurisprudence. See, e.g., Jackson v. City and
21     County Of San Francisco, 746 F.3d 953, 961 (9th Cir. 2014) (heightened scrutiny in
22     Second Amendment cases is “guided by First Amendment principles”); Silvester v.
23     Harris, 834 F.3d 816, 821 (9th Cir. 2016) (applying in Second Amendment case “the
24     test for intermediate scrutiny from First Amendment cases”), cert. denied, Silvester v.
25     Becerra, 138 S.Ct. 945 (2018). While the Circuit Court’s application of that legal rule
26     sometimes appears closer to rational basis scrutiny than actual heightened scrutiny, its
27     precedents foreclose Defendants’ approach to analyzing the State’s ban here.
28     Especially given the testimony at the evidentiary hearing, any claimed governmental

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            PLAINTIFFS’ SUPPLEMENTAL BRIEF FOLLOWING EVIDENTIARY HEARING ON MOTION FOR PRELIMINARY INJUNCTION
                                                CASE NO. 3:19-cv-01537-BEN-JLB
     Case 3:19-cv-01537-BEN-JLB Document 63 Filed 11/05/20 PageID.5431 Page 3 of 26




 1     interest in reducing the quality and effectiveness of firearms is on its face illegitimate
 2     and contrary to the balance already struck by the framers and ratifiers of the Second
 3     Amendment. Such a purported interest requires the same categorical or strict scrutiny
 4     analysis that content- or viewpoint-based restrictions are under the First Amendment.
 5           In First Amendment cases, it is black-letter law that a restriction of speech
 6     based on the viewpoint of a speaker is subject to virtually insurmountably strict
 7     scrutiny. “[T]he First Amendment forbids the government to regulate speech in ways
 8     that favor some viewpoints or ideas at the expense of others,’ ” Matal v. Tam, 137 S.
 9     Ct. 1744, 1757 (2017) (quoting Lamb’s Chapel v. Center Moriches Union Free School
10     Dist., 508 U.S. 384, 394 (1993)). Likewise, restrictions based on the content of speech
11     are subject to strict scrutiny that is rarely overcome outside the context of immediate
12     and unavoidable consequences from such speech. Matal, 137 S. Ct. at 1765-66
13     (Kennedy, J., concurring in part and in the judgment) (“The First Amendment guards
14     against laws ‘targeted at specific subject matter,’ a form of speech suppression known
15     as content based discrimination.”) (citation omitted). Such restrictions go to the core
16     of the First Amendment’s protection for the expression of competing views and debate
17     on matters of public importance.
18           In the Second Amendment context, the right to keep and bear arms is
19     recognized and protected precisely because effective arms, including those the State
20     prohibits under its “assault weapons” ban, allow people to project lawful force beyond
21     their own limited physical strength or skill. Protecting the citizenry’s natural right and
22     ability to use or threaten powerful force as a just response to unjust force is the very
23     purpose of the Second Amendment, just as the freedom to create powerful (even if
24     highly controversial) ideas and communicate them through powerful means is at the
25     core of the First Amendment’s protection of speech.
26           If the Second Amendment’s firearm projectiles is viewed analogous to speech,
27     then the “assault weapons” that California bans are modern computers or bullhorns.
28     That such also could be used in inappropriate circumstances—by criminals,
                                                           –2–
          PLAINTIFFS’ SUPPLEMENTAL BRIEF FOLLOWING EVIDENTIARY HEARING ON MOTION FOR PRELIMINARY INJUNCTION
                                              CASE NO. 3:19-cv-01537-BEN-JLB
     Case 3:19-cv-01537-BEN-JLB Document 63 Filed 11/05/20 PageID.5432 Page 4 of 26




 1     insurgents, or the mentally ill—was as obvious in the 1700s and 1800s as it is today.
 2     In the First Amendment context, the fundamental principles restricting the
 3     government’s ability to reduce or eliminate constitutionally protected items and
 4     conduct can be seen in the prohibitions on content and viewpoint restrictions, of
 5     course. But they can also be seen in the rejection of broad prophylactic rules and the
 6     requirement of a clear and present danger before restricting even potentially inciting
 7     speech. Brandenburg v. Ohio, 395 U.S. 444, 447-48 (1969).
 8           When considering the government’s interest behind a restriction, therefore, it is
 9     not enough to merely claim some generalized public safety interest or similarly vague
10     macro-value. Rather, the government and the scrutinizing court must focus on the
11     particular and operative interest involved. In this case, the Defendants’ claimed
12     interest is that of broadly prohibiting common firearms with various common
13     characteristics that increase the effectiveness, accuracy, and usability of firearms so
14     that they are purportedly less capable of inflicting damage. But given that the very
15     point of a firearm is to project effective, accurate, and directed force at a distance—
16     whether in a hallway against a home invasion, in a public street against a would-be
17     rapist, or, heaven forbid, against enemies of United States acting on our soil—the
18     State’s ban goes to the very protected qualities of a firearm, and is thus completely
19     and categorically illegitimate. To draw an analogy, in the First Amendment context,
20     the State’s “assault weapons” ban would be equivalent to a ban on computers and the
21     Internet—“high-powered” delivery mechanisms of protected speech—because they
22     can and sometimes do make it easier for bad actors to use them to incite riots, bully
23     people into suicide, and foment rebellion against a duly elected government. The
24     printing press made libel and slander easier to disseminate, more damaging in its
25     reach, and hence more harmful than merely speaking from a soap box in the town
26     square. And the Internet likewise has multiplied the number of people able to speak in
27     a rapid-fire way—see, e.g., Twitter—to a large audience and the breadth of that
28     potential audience. In California’s terms, Internet-connected modern computers would
                                                           –3–
          PLAINTIFFS’ SUPPLEMENTAL BRIEF FOLLOWING EVIDENTIARY HEARING ON MOTION FOR PRELIMINARY INJUNCTION
                                              CASE NO. 3:19-cv-01537-BEN-JLB
     Case 3:19-cv-01537-BEN-JLB Document 63 Filed 11/05/20 PageID.5433 Page 5 of 26




 1     be the “assault weapon” of speech. But it is inconceivable under our law that the State
 2     could ban the printing press, restrict the speed or capacity of the Internet, or limit
 3     personal computers by prohibiting most common applications, or limiting screen size
 4     so that they are harder to use quickly, in order to reduce the speed, reach, and
 5     effectiveness of speech simply because such qualities could be (and are) used by bad
 6     actors as well as by persons engaging in lawful and protected public debate about
 7     elections and political issues. Suppressing, even to a small degree, a means of
 8     communication precisely because one objects to the communicative impact of the
 9     content of some speech is forbidden. Grosjean v. American Press Co., Inc., 297 U.S.
10     233 (1936) (striking down tax on newspaper advertising in papers with large
11     circulation). Likewise, suppressing the nature and qualities of arms because one
12     objects to the central function of arms—effective force projection—is illegitimate and
13     forbidden. Any contrary approach would be absurd on its face, allowing the
14     government to prohibit any improvements in firearm safety, ergonomics, accuracy, or
15     effectiveness simply because such improvements would help criminals as well as
16     lawful users. And, in fact, under such a theory the state need not merely ban future
17     improvements, but could use an older baseline—such as the musket, blunderbuss, or
18     single-shot, centerfire cartridge bolt-action rifle—as the upper limit on how advanced
19     firearms could be. But the Supreme Court has already rejected the “argument,
20     bordering on the frivolous, that only those arms in existence in the 18th century are
21     protected by the Second Amendment,” Heller, 554 U.S. 570, 582 (2008), because
22     “[w]e do not interpret constitutional rights that way.” “Just as the First Amendment
23     protects modern forms of communications, … and the Fourth Amendment applies to
24     modern forms of search, … the Second Amendment extends, prima facie, to all
25     instruments that constitute bearable arms, even those that were not in existence at the
26     time of the founding.” Id. (citations omitted).
27           Defendants’ may well believe that its ban accomplishes something of value for
28     its citizens—though the data show otherwise—and justifiable because they view
                                                           –4–
          PLAINTIFFS’ SUPPLEMENTAL BRIEF FOLLOWING EVIDENTIARY HEARING ON MOTION FOR PRELIMINARY INJUNCTION
                                              CASE NO. 3:19-cv-01537-BEN-JLB
     Case 3:19-cv-01537-BEN-JLB Document 63 Filed 11/05/20 PageID.5434 Page 6 of 26




 1     “assault weapons” to have “controversial public safety implications.” But “the
 2     enshrinement of constitutional rights necessarily takes certain policy choices off the
 3     table.” Id. at 636 (2008). The framers and ratifiers of the Second and Fourteenth
 4     Amendments chose to robustly protect dangerous but important rights in the Bill of
 5     Rights fully aware of, and despite, their risks. They may not be re-balanced by
 6     legislators, courts, or the Defendants.
 7     B.      RECENT AUTHORITY EXAMINING THE MEANING OF HEIGHTENED SCRUTINY
               IN SECOND AMENDMENT CASES SUPPORTS PLAINTIFFS’ POSITION.
 8
 9             Plaintiffs reiterate their argument, raised in their motion, that tiered scrutiny is
10     inapplicable to laws that are categorically unconstitutional under Heller, including
11     California’s assault weapon ban challenged herein. However, even in the Ninth
12     Circuit, some firearm restrictions are so severe that mere heightened scrutiny is
13     inapplicable. Silvester v. Harris, 843 F.3d 816, 821 (9th Cir 2016); Bauer v. Becerra,
14     858 F.3d 1216, 1222 (9th Cir. 2017). And even under the Ninth Circuit’s two-step
15     test, the State’s ban fails any level of heightened scrutiny.
16             Since plaintiffs originally submitted their reply memorandum [ECF No. 38], the
17     Ninth Circuit has only further supported plaintiffs’ motion. In Duncan v. Becerra, 970
18     F.3d 1133 (9th Cir. 2020), the Circuit Court, in affirming this Court’s judgment, held
19     that, because the large-capacity magazine ban, Penal Code § 32310, “substantially
20     burdens core Second Amendment rights,” it was subject to review under strict
21     scrutiny. 970 F.3d at 1152. In connection with the preliminary injunction motion at
22     issue, plaintiffs here offered the testimony of Emanuel Kapelsohn, who both declared
23     and testified that semiautomatic firearms, such as the AR-15, are well-suited for self-
24     defense in the home because of their accuracy, enhanced by their ergonomics, light
25     weight, maneuverability, and ease of use. (See, e.g., Kapelsohn testimony, 10/19/20
26     Tr. at 25:16 – 28:9.) These benefits also enhance and encourage civilian training. (Id.)
27             As such, the AWCA strikes at the “core” of the Second Amendment—and to be
28     sure, the core of the Second Amendment is defined by its text, namely, the “right to

                                                             –5–
            PLAINTIFFS’ SUPPLEMENTAL BRIEF FOLLOWING EVIDENTIARY HEARING ON MOTION FOR PRELIMINARY INJUNCTION
                                                CASE NO. 3:19-cv-01537-BEN-JLB
     Case 3:19-cv-01537-BEN-JLB Document 63 Filed 11/05/20 PageID.5435 Page 7 of 26




 1     keep and bear arms” which “shall not be infringed”—because its effect is to prohibit
 2     an entire category of semiautomatic firearms—common pistols, shotguns, and rifles—
 3     that are overwhelmingly kept and used for lawful purposes throughout the United
 4     States. Indeed, the very characteristics that the State’s laws prohibit do not subject
 5     firearms to the ban in spite of their being useful in self-defense, but apparently,
 6     because those features are effective in the first place. The State’s apparent rationale in
 7     prohibiting firearms with these characteristics, which amounts to a declaration that
 8     ‘we don’t want people to be able to shoot accurately, rapidly,’ fails on its face because
 9     it is not and cannot be a legitimate state interest at all, let alone a compelling one. A
10     blanket prohibition on firearms in common use for lawful purposes in most all states
11     that are “too accurate”, or which do their jobs “too effectively” by allowing citizens to
12     defend their lives “too well”, severely infringes upon Second Amendment rights. It
13     cannot survive strict scrutiny.
14           But even under the intermediate scrutiny standard, the Ninth Circuit’s decision
15     in Duncan provides further guidance and shows why the AWCA fails it too. Even
16     though the Duncan Court applied strict scrutiny to affirm this Court’s judgment, it
17     also held that the analogous magazine ban would fail under intermediate scrutiny as
18     well. Duncan, 970 F.3d at 1165-66. The Court began by reiterating the Supreme
19     Court’s affirmation of the “potent nature of intermediate scrutiny.” Id. at 1165 (citing
20     Packingham v. North Carolina, 137 S.Ct. 1730, 1736 (2017)). It went on to state that,
21     “[w]hile the precise contours of intermediate scrutiny may vary, this much is certain:
22     It has bite. It is a demanding test. While its application is neither fatal nor feeble, it
23     still requires a reviewing court to scrutinize a challenged law with a healthy dose of
24     skepticism. Indeed, the law must address ‘harms’ that ‘are real’ in a ‘material’ way.”
25     Duncan, 970 F.3d at 1165 (citing Edenfield v. Fane, 507 U.S. 761, 771 (1993)).
26           Duncan further recognized what the organizational plaintiffs here have long
27     asserted, that some courts have been applying intermediate scrutiny in Second
28     Amendment cases that appears to be “a diluted form of intermediate scrutiny that
                                                           –6–
          PLAINTIFFS’ SUPPLEMENTAL BRIEF FOLLOWING EVIDENTIARY HEARING ON MOTION FOR PRELIMINARY INJUNCTION
                                              CASE NO. 3:19-cv-01537-BEN-JLB
     Case 3:19-cv-01537-BEN-JLB Document 63 Filed 11/05/20 PageID.5436 Page 8 of 26




 1     approximates rational basis, which Heller forbids.” Duncan, 970 F.3d at 1166. And
 2     thus, if intermediate scrutiny must be applied, it must be that as framed by the
 3     Supreme Court, vividly illustrated in the Ninth Circuit’s Duncan analysis. Under the
 4     actual “demanding” standard for intermediate scrutiny, the State’s apparent rationale
 5     supporting its “assault weapons” ban (i.e., ban firearms that can shoot accurately,
 6     rapidly) soundly fails, as it is not an important governmental objective nor any sort of
 7     reasonable fit. In considering the State’s objective under this standard, the Court is not
 8     obligated simply to accept the State’s now-customary appeals to generic hand-waving
 9     about “gun violence” and “public safety.” Rather, it is the State’s burden to show,
10     through actual evidence, how the end it seeks reasonably satisfies a legitimate interest
11     through constitutionally legitimate means, establishing by proof that its regulations are
12     reasonably tailored. “The government must do more than just simply posit the
13     existence of the diseases sought to be cured, and demonstrate that the recited harms
14     are real, not merely conjectural, and that the regulation will in fact alleviate these
15     harms in a direct and material way.” Rhode v. Becerra, 445 F.Supp. 3d 902, 934–35
16     (S.D. Cal. 2020) (quoting Turner Broad. Sys., Inc. v. FCC, 512 U.S. 622, 664, 114
17     S.Ct. 2445 (1994) (internal quotations omitted); see also, Edenfield v. Fane, 507 U.S.
18     761, 770–71, 113 S.Ct. 1792, 1800 (1993).
19             Defendants have not—and cannot—carry their burden to show that the State’s
20     ban serves any legitimate interest or that their laws are reasonably tailored.
21     C.      SEMIAUTOMATIC FIREARMS ARE IN COMMON USE.
22             As previously contended in Plaintiffs’ preliminary injunction motion,
23     Defendants offer no historical support for their ban on common semiautomatic
24     firearms with common characteristics because such a ban has “no historical pedigree.”
25     Duncan, 366 F. Supp.3d at 1149. Semiautomatic firearms have been in existence for
26     over a century, and the firearms at issue in this case were able to be purchased, kept,
27     and used in California until recently, in 1989—the polar opposite of a “longstanding”
28     regulation. See Declaration of Ashley Hlebinsky (Hlebinsky Dec.), ¶¶ 10-28, Exs. 5–
                                                             –7–
            PLAINTIFFS’ SUPPLEMENTAL BRIEF FOLLOWING EVIDENTIARY HEARING ON MOTION FOR PRELIMINARY INJUNCTION
                                                CASE NO. 3:19-cv-01537-BEN-JLB
     Case 3:19-cv-01537-BEN-JLB Document 63 Filed 11/05/20 PageID.5437 Page 9 of 26




 1     35. These firearms are commonly used by responsible, law-abiding people for various
 2     lawful purposes such as self-defense, hunting, recreation, competition, and collecting.
 3     Declaration of James Curcuruto (Curcuruto Dec.) ¶¶ 7-14, Exs. 1-7. And indeed, the
 4     only thing rare about these firearms is severe regulation of them, with a very few
 5     states that unconstitutionally recast and prohibit them as “assault weapons.”
 6     Kapelsohn Dec. ¶¶ 17-26, Exs. 1-10.
 7            Heller’s analysis asks simply whether the arms are “both dangerous and
 8     unusual,” Caetano v. Massachusetts, 136 S. Ct. 1027, 1031 (2016) (Alito, J., joined by
 9     Thomas, J., concurring) (italics original), and if they are not both, it determines if the
10     category of arms are in common use for lawful purposes. Duncan v. Becerra, 366 F.
11     Supp.3d at 1142. The text of the Second Amendment, as it is informed by history and
12     tradition, all point in the same direction because “the pertinent Second Amendment
13     inquiry is whether [the banned weapons] are commonly possessed by law-abiding
14     citizens for lawful purposes today.” Caetano, supra, at 1032 (italics original). Indeed,
15     these banned “assault weapons” are not both dangerous and unusual, as the Supreme
16     Court defined in Heller. And they are common in all respects: 1) they are common
17     functionally, as they are all semiautomatic in their operation; 2) they are common
18     characteristically, as they are all commercially popular types of arms, namely, pistols,
19     shotguns, and rifles; 3) they are common jurisdictionally, available in the vast
20     majority of states; and as further proof, 4) they are common numerically, in that they
21     are owned by citizens by the hundreds of thousands or more.1 In short, all of the
22
23     1
         While numerical data can be helpful in determining if a particular weapon is
24     commonly used for lawful purposes, constitutionally protected status of arms cannot
       turn on fact-bound sales numbers of particular makes, models, or even specific
25     configurations. Rather, the question is a categorical question of type and function, set
26     against a backdrop of availability throughout the United States. “While less popular
       than handguns, stun guns are widely owned and accepted as a legitimate means of
27     self-defense across the country.” Caetano, 136 S. Ct. 1027, 1033 (2016) (Alito, J.,
28     concurring). So too are semiautomatic firearms in various configurations of more and
       less characteristics, as California bans. And importantly, for example, a future Glock
                                                            –8–
           PLAINTIFFS’ SUPPLEMENTAL BRIEF FOLLOWING EVIDENTIARY HEARING ON MOTION FOR PRELIMINARY INJUNCTION
                                               CASE NO. 3:19-cv-01537-BEN-JLB
 Case 3:19-cv-01537-BEN-JLB Document 63 Filed 11/05/20 PageID.5438 Page 10 of 26




 1   semiautomatic firearms California bans in Penal Code section 30515 meet the Heller
 2   test and are constitutionally protected.
 3         Forty-one (41) states do not ban semiautomatic firearms with or without
 4   characteristics like pistol grips, collapsible stocks, threaded barrels, and flash
 5   suppressors, whether they are semiautomatic rifles, pistols, or shotguns. George
 6   Mocsary Declaration ⁋44. These firearms have been sold for over a century
 7   throughout the United States, and continue to be sold today most places without
 8   additional restrictions. Indeed, semiautomatic firearms with such common
 9   characteristics are among the most popular firearms in the United States. Curcuruto
10   Dec., ¶¶8-12 (discussing prevalence of relevant semiautomatic rifles and the massive
11   numbers of common semiautomatic shotguns and pistols with such characteristics).
12   Moreover, early semiautomatic pistols, rifles, and shotguns were developed in the first
13   years of the 1900s and were configured with many of California’s banned
14   characteristics, such as detachable and large capacity magazines, pistol grips, and
15   adjustable stocks. Hlebinsky Decl.⁋⁋10-28.
16         Though categorical commonality is not based on the number of any specific
17   firearm owned by individuals, those numbers may provide additional insight into the
18   commonality of these firearms. For example, ownership of semiautomatic firearms, as
19
20
     “Gen 6” model 17 semiautomatic handgun, though when first released will not be
21   numerically common based on sales (because it hasn’t been sold yet), it will
22   nonetheless be constitutionally protected because it is categorically common—a
     semiautomatic handgun. The same goes for firearms that California bans based on one
23   or more characteristics, or yes, their evolutionary and technological successors. Just
24   like the argument “that only those arms in existence in the 18th century are protected
     by the Second Amendment [is] not merely wrong, but bordering on the frivolous,” the
25   “Second Amendment extends, prima facie, to all instruments that constitute bearable
26   arms…” Id. at 1030 (internal quotations omitted). The fact that the AWCA may act to
     ban thousands of discrete configurations of common semiautomatic pistols, shotguns,
27   and rifles held in respectively smaller numbers than the over-arching category of
28   “assault weapons” as a whole is irrelevant to the constitutional inquiry under Heller.
     See Mocsary Dec. ¶¶ 47-52.
                                                         –9–
        PLAINTIFFS’ SUPPLEMENTAL BRIEF FOLLOWING EVIDENTIARY HEARING ON MOTION FOR PRELIMINARY INJUNCTION
                                            CASE NO. 3:19-cv-01537-BEN-JLB
 Case 3:19-cv-01537-BEN-JLB Document 63 Filed 11/05/20 PageID.5439 Page 11 of 26




 1   rifles configured in a manner banned by California, has been conservatively estimated
 2   at perhaps greater than 5 million. Curcuruto Dec., ¶¶ 7-13, Exs. 1-7. Defendants’
 3   expert witness testimony concurs with this estimate. See 10/22/20 Hearing Transcript
 4   (“Tr.”) at 81:15-20. Semiautomatic rifles with prohibited characteristics are only one
 5   configuration of the broader category of semiautomatic firearms banned by the
 6   AWCA; and, thus, the numbers of all California prohibited semiautomatic firearms
 7   are necessarily higher.2 See Pls. Motion p. 13-14; Curcuruto Dec., ¶¶ 7-14, Exs. 1-7;
 8   Moscary Dec., ¶¶ 25-48, Exs. 4-11; Kapelsohn Dec. ¶¶17-18. And the commonality of
 9   these arms is shown by the State’s own evidence.3 The State concedes that
10   semiautomatic firearms (including rifles, pistols, and shotguns)—not just
11   semiautomatic rifles—with banned characteristics are indeed common, and that
12   “[m]ilitary-style weapons today define the U.S. civilian gun market.”4 The State’s
13
14
15   2
       The number of “assault weapon” shotguns and pistols may be dwarfed by that of
16   “assault weapon” rifles, “but it is beside the point. Otherwise, “a State would be free
     to ban all weapons except handguns, because handguns are the most popular weapon
17   chosen by Americans for self-defense in the home.” Caetano, 136 S. Ct. 1027, 1032
18   quoting Heller, 554 U.S. 570, 629 (internal quotations omitted). Again, as Plaintiffs
     have shown, see, e.g., FN1, parsing out the Caetano analysis to focus on sales
19   numbers is not the proper analysis.
20   3
      See Defendants’ evidence, specifically the Declaration of Blake Graham (claims that
21   semiautomatic rifles, pistols, and shotguns defined as “assault weapons” are not
22   common in his experience). Graham Dec. ¶¶ 16, 57, 62. However, his anecdotal
     experience is limited to California, which banned these firearms. Mr. Graham has no
23   basis for his opinion on the commonality of such firearms throughout the United
24   States; and therefore, his opinion should be flatly rejected.

25   4
      Again, see Defendants’ evidence DX-9 at 244; see also DX-9 at 205, 211, 217, 218,
26   220, 222, 225, 227, 228, 229, 232 (assault pistols), 233, 236 (assault shotguns), 239,
     and 241 (.50 BMG rifles); DX-20 at 388 (“semiautomatic weapons with large-
27   capacity magazines and/or other military-style features are common among models
28   produced in the contemporary gun market”); DX-1 at 9 (previously ‘“California
     Complaint assault weapons’” “have been permitted to flood into this state”).
                                                         – 10 –
         PLAINTIFFS’ SUPPLEMENTAL BRIEF FOLLOWING EVIDENTIARY HEARING ON MOTION FOR PRELIMINARY INJUNCTION
                                             CASE NO. 3:19-cv-01537-BEN-JLB
 Case 3:19-cv-01537-BEN-JLB Document 63 Filed 11/05/20 PageID.5440 Page 12 of 26




 1   evidence is not limited to semiautomatic rifles, but semiautomatic weapons—which
 2   includes rifles, pistols, and shotguns. The State also misapplies the analysis in
 3   Caetano by independently analyzing the State’s ban on common semiautomatic
 4   firearms as “assault weapons” in three separate categories—rifles, pistols, and
 5   shotguns—rather than the proper mode of analysis, that is, semiautomatic firearms
 6   (period) with characteristics prohibited by Defendants’ laws and regulations. The
 7   State asserts that these semiautomatic firearms are not in common use because it has
 8   banned these firearms. However, a State’s ban cannot be its own evidence that the
 9   weapons are not in common use. And, more, “[t]he more relevant statistic” is that
10   millions of “assault weapon” rifles, shotguns, and rifles “have been sold to private
11   citizens,” who “may lawfully possess them in [41] States.” Caetano, 136 S. Ct. 1027,
12   1032 (2016). Thus, Plaintiffs have established that all semiautomatic firearms with (or
13   without) California-prohibited characteristics—colloquially called “evil features”—
14   are common by any standard, including Heller’s. See Mocsary Decl. ⁋51. Defendants’
15   response is simply to deny the uncontroverted evidence. Opp. at 12:11.
16         Moreover, the State may attempt to rely on the number of semiautomatic
17   firearms with characteristics that are registered as assault weapons in California. But
18   that evaluation only proves Plaintiffs’ contention—these firearms are unquestionably
19   in common use. In 2009, Steve Buford of the California Department of Justice (DOJ)
20   provided assault weapon registration information to Attorney Jason Davis in response
21   to a Public Records Act (PRA) request. As shown in the data provided by the DOJ,
22   under the original Roberti-Roos Assault Weapon Act, 56,626 “assault weapons” were
23   registered in California. Subsequently, with the enactment of Senate Bill 23, which
24   expanded the definition of assault weapons under the AWCA, another 91,211 assault
25   weapons were registered in California. See Declaration of Jason Davis ⁋⁋6-7, Exhibits
26   A and B. Moreover, there was another 5,281 registered weapons by peace officers that
27   were allowed or required to register their personal firearms as “assault weapons.”
28   Thus, even in 2009—nearly a decade before the enactment of SB 880 and AB 1135
                                                        – 11 –
        PLAINTIFFS’ SUPPLEMENTAL BRIEF FOLLOWING EVIDENTIARY HEARING ON MOTION FOR PRELIMINARY INJUNCTION
                                            CASE NO. 3:19-cv-01537-BEN-JLB
 Case 3:19-cv-01537-BEN-JLB Document 63 Filed 11/05/20 PageID.5441 Page 13 of 26




 1   (which required additional firearms to be registered as “assault weapons”)—there
 2   were already about 153,118 registered assault weapons in California.5
 3          After SB 880 and AB 1135 went into effect in 2017, another broad swath of
 4   firearms needed to be registered as “assault weapons” in California. In response to a
 5   2018 PRA request from Brandon Combs, president of Plaintiff Firearms Policy
 6   Coalition, California Deputy Attorney General Robert D. Wilson (for Defendant
 7   Becerra) stated that from July 31, 2017 to June 30, 2018 (the end of the registration
 8   period), 68,848 applications to “assault weapons” were submitted for registration in
 9   the DOJ’s California Firearms Application Reporting System (CFARS). See
10   Declaration of Brandon Combs (Combs Decl.), ⁋15. Of those 68,848 assault weapons,
11   6,365 are pistols, 1,365 are shotguns, and 61,118 are rifles, respectively. Combs Decl.,
12   ⁋17. Accordingly, it is reasonable to infer that approximately 219,083 registered
13   semiautomatic assault weapons—pistols, shotguns, and rifles—exist in California.
14   Thus, Defendants’ registration data support that these arms are commonly possessed
15   for lawful purposes in California, let alone outside of it. And as high as these numbers
16   are, they are still far from the total universe of such firearms in the United States, and
17   even in California and because of the State’s own mandate that such firearms be
18   registered, taken out of California, made compliant by removing semiautomatic
19   function or characteristics, or turned into the police.
20          Again, 41 states treat all semiautomatic firearms with characteristics banned in
21   California like all other semiautomatic firearms—without any additional restrictions,
22   regardless of characteristics—and have since the founding era. Plaintiffs have also
23   shown that the various characteristics prohibited in California have been used on
24   semiautomatic firearms for over a century. See Hlebinsky Decl. These facts alone
25   independently establish that semiautomatic firearms with or without various
26
27   5
      There is no way to know what the voluntary compliance rate for these registration
28   periods was, but we know with certainly it was not 100% since the state not only
     discouraged, but prevented people from doing so. See Combs Dec., ⁋18.
                                                         – 12 –
         PLAINTIFFS’ SUPPLEMENTAL BRIEF FOLLOWING EVIDENTIARY HEARING ON MOTION FOR PRELIMINARY INJUNCTION
                                             CASE NO. 3:19-cv-01537-BEN-JLB
 Case 3:19-cv-01537-BEN-JLB Document 63 Filed 11/05/20 PageID.5442 Page 14 of 26




 1   combinations of characteristics are indeed in common use for lawful purposes, and
 2   fully protected by the Second Amendment. Compared to the “[h]undreds of thousands
 3   of Tasers and stun guns” lawfully possessed in 45 states, as Justice Alito observed in
 4   Caetano v. Massachusetts, 136 S.Ct. 1027, 1032 (2016), there are millions of
 5   semiautomatic firearms—pistols, shotguns, and rifles—with common characteristics
 6   that are commonly sold and owned in a large majority of the United States.
 7   Defendants have never refuted or addressed these facts. Such commonality is also
 8   demonstrated by the additional evidence offered herein.
 9      1. Firearm Manufacturer Sales Data
10         Sturm, Ruger & Co., Inc. (Ruger) is one of the nation’s leading manufacturers
11   of firearms for the commercial sporting market. For 70 years, Ruger has manufactured
12   firearms in the United States. As a licensed firearms manufacturer, Ruger maintains
13   records related to firearms it has manufactured and sold. According to Nathan Lewis
14   Siegal, Ruger’s Associate General Counsel for ATF Compliance, “Ruger’s records
15   reveal that the Company has manufactured and domestically distributed
16   semiautomatic pistol models that accept detachable magazines and have at least one
17   feature listed” under Penal Code section 30515(a)(4) “since at least 2011.”
18   Declaration of Nathan Lewis Siegal Dec. (Siegal Decl.), ¶ 4. Additionally, after
19   reviewing Ruger’s records regarding the domestic manufacture, sale, and distribution
20   of semiautomatic pistol models, between January 1, 2017 and October 26, 2020,
21   Ruger domestically distributed for the civilian market at least 283,579 semiautomatic
22   pistols that accept a detachable magazine and have at least one feature generally
23   banned by section 30515. Siegal Decl., ¶ 6. This data encompasses only the last three
24   years with just one U.S. firearms manufacturer. And semiautomatic shotguns are also
25   in common use. Reviewing just a fraction of the distribution of Benelli tactical
26   shotguns especially suitable for self-defense, though banned under the AWCA, it is
27   clear that there are thousands of semiautomatic shotguns with features like pistol grips
28   and adjustable stocks. See Declaration of Kenneth Brown, ¶¶ 1-24.
                                                        – 13 –
        PLAINTIFFS’ SUPPLEMENTAL BRIEF FOLLOWING EVIDENTIARY HEARING ON MOTION FOR PRELIMINARY INJUNCTION
                                            CASE NO. 3:19-cv-01537-BEN-JLB
 Case 3:19-cv-01537-BEN-JLB Document 63 Filed 11/05/20 PageID.5443 Page 15 of 26




 1          2.      The Broader U.S. Market of Semiautomatic Pistols and Shotguns
 2          Additionally, attorney and researcher Joseph Ostini conducted a survey of
 3   commercially-available firearm makes and models for sale to citizen consumers
 4   within the United States.6 See Declaration of Joseph Ostini, ¶¶ 4-12. In his survey, Mr.
 5   Ostini reviewed 73 different firearm manufacturers in the United States to identify
 6   how many different commonly available firearms presently sold throughout the
 7   United States would fall under the definition of “assault weapon” pistols or shotguns
 8   under Penal Code section 30515. Though not exhaustive, the list he developed in his
 9   survey provides additional insight into whether these firearms are in common use.
10   Mr. Ostini found that of the 61 pistol manufacturers, there are at least 356 different
11   models of firearms offered for sale defined as an “assault weapon” pistol under Penal
12   Code section 30515. Some manufacturers, such as CMMG, offer 38 different models
13   of California banned “assault pistols”. Some of these manufacturers, such as Ruger,
14   Sig Sauer, Springfield Armory, and Beretta,— each of which offer several models of
15   pistols considered by California to be “assault weapons”—are widely held as some of
16   the largest firearm manufacturers in the United States. See Declaration of John W.
17   Dillon (Dillon Decl.), Exhibit A.
18          Moreover, Ruger, and many other manufacturers, sell threaded pistol barrels for
19   their handguns. Dillon Decl., Ex. B. Merely installing one of these threaded barrels on
20   a common handgun like a Glock 17, would change this typical pistol into an illegal
21   “assault weapon” pistol under the AWCA.7 In fact, there is an entire industry of pistol-
22   barrel manufacturers that produce and sell threaded handgun barrels for the largest
23
24   6
      Note this search was limited in scope to new firearms and did not include the
25   millions of firearms that exist on the used market.
26   7
      And even mere possession of such a threaded barrel, or any other characteristic,
27   might subject an individual to criminal constructive possession. See, e.g., People v.
28   Nguyen, 212 Cal.App.4th 1311 (Cal. Ct. App. 2013).

                                                         – 14 –
         PLAINTIFFS’ SUPPLEMENTAL BRIEF FOLLOWING EVIDENTIARY HEARING ON MOTION FOR PRELIMINARY INJUNCTION
                                             CASE NO. 3:19-cv-01537-BEN-JLB
 Case 3:19-cv-01537-BEN-JLB Document 63 Filed 11/05/20 PageID.5444 Page 16 of 26




 1   manufacturers.. Dillon Decl., Exs. C, D, E, F, G, H, I, J, K, L, M, and N. Threaded
 2   firearm barrels are not only commonly used for lawful purposes, including self-
 3   defense and sport, they have been available and used on semiautomatic firearms for
 4   many decades. Hlebinsky Dec., ¶ 24. For example, Glock pistols are widely
 5   considered one of the most popular handguns today. Glockstore.com is “the world’s
 6   largest distributor of Glock parts and accessories, magazines, holsters, logo gear,
 7   apparel, concealment items, custom parts and Glock custom guns.” Dillon Decl., Ex.
 8   K. Reviewing Glockstore’s website, they offer threaded barrels for 14 different
 9   models of Glock pistols of the 29 base models offered by Glock,8 approximately 48%
10   of the total models offered by Glock. Moreover, most of the remaining models of
11   Glock handguns are capable of accepting threaded barrels offered by other barrel
12   manufacturers. Dillon Decl., Ex. L. Threaded barrels are regularly made for the over a
13   century old semiautomatic 1911 platform handgun. Dillon Decl., Exs. M and N.
14          Despite the State’s attempt to portray “assault weapon” pistols as dangerous
15   and unusual, and thus uncommon, California’s ban encompasses common, every day
16   semiautomatic handguns, many of which identify as good firearms for first time
17   shooters and even kids, such as a .22 rimfire pistol. Dillon Decl., Ex. O. Defendants’
18   attempt to single-out specific configurations of semiautomatic pistols to hide the fact
19   that the AWCA bans all commonly owned semiautomatic pistols with prohibited
20   characteristics is misleading and incorrect.
21          Similarly, semiautomatic shotguns are categorically in common use for lawful
22   purposes with or without characteristics such as pistol grips and collapsible/folding
23   stocks. Often these types of firearms are referred to as “tactical shotguns.” For
24   example, under the “tactical shotgun” section of the website of Atlantic Firearms (a
25   licensed firearms dealer), it states that it “offers a wide selection Tactical Shotguns for
26
27   8
       Glock advertises over 50 different pistol models. However, many are variations of
28   the same handgun model. Thus, in quantifying the models offered by Glock, Plaintiffs
     analyzed the base model numbers (e.g., Glock 17, 19, 26, 27, etc.).
                                                         – 15 –
         PLAINTIFFS’ SUPPLEMENTAL BRIEF FOLLOWING EVIDENTIARY HEARING ON MOTION FOR PRELIMINARY INJUNCTION
                                             CASE NO. 3:19-cv-01537-BEN-JLB
 Case 3:19-cv-01537-BEN-JLB Document 63 Filed 11/05/20 PageID.5445 Page 17 of 26




 1   Sporting, Home Defense and Hunting applications. We offer these in semi auto, pump
 2   action magazine fed and Bull pup configurations. Popular Shotguns choices are the
 3   AK47/Kalashnikov action shotguns like the Lynx 12 or Kalashnikov USA KS-12
 4   Shotgun.” Dillon Decl., Ex. P. Of the 96 different “tactical shotgun” models offered
 5   on Atlantic Firearms’ website, 56 of those models are classified as “assault weapon”
 6   shotguns under Penal Code section 30515. Thus, 58 percent of the models offered for
 7   sale by Atlantic Firearms—legal in the majority of the United States—are illegal
 8   “assault weapon” shotguns in California. Id. Kalashnikov USA, a highly popular
 9   manufacturer, sells 4 different shotgun models—and all four would be “assault”
10   shotguns in California. See also Brown Decl. ¶¶ 1-24. In short, semiautomatic
11   firearms with any one or more of the characteristics banned under Penal Code section
12   30515 are unquestionably in common use for lawful purposes, and are additionally
13   historically common types of firearms.
14   D.      DEFENDANTS RELY ON FAULTY DATA AND SKEWED METHODOLOGY
15           Defendants’ opposition to both the Plaintiffs’ preliminary injunction motion and
16   the supporting witnesses’ declarations improperly attempts to re-litigate Duncan v.
17   Becerra. However, this Court has already issued its judgment on those issues, and the
18   Ninth Circuit has robustly affirmed that judgment in its own decision. Defendants’
19   witnesses also make unsubstantiated assertions, and rely on flawed data in forming
20   their opinions—reasons enough to discard or discount such evidence.
21           1.      Professor Donohue’s Declaration and Testimony
22           Defendants’ rely on the declaration and testimony of Professor John Donohue.
23   In both, Professor Donohue makes a number of claims regarding mass shootings,
24   school shootings, societal views on gun control, United States gun ownership,
25   psychological trauma of mass shooting victims, and both the lethality and ballistics of
26   so-called “assault weapons.” However, many of these claims are not supported by any
27   evidence or expertise. Instead, they are merely Professor Donohue’s personal and
28   unsupported opinions.
                                                          – 16 –
          PLAINTIFFS’ SUPPLEMENTAL BRIEF FOLLOWING EVIDENTIARY HEARING ON MOTION FOR PRELIMINARY INJUNCTION
                                              CASE NO. 3:19-cv-01537-BEN-JLB
 Case 3:19-cv-01537-BEN-JLB Document 63 Filed 11/05/20 PageID.5446 Page 18 of 26




 1         First, Professor Donohue has no training or experience with “assault weapons.”
 2   In spite of those facts, Professor Donahue asserts that “[i]n civilian life, using an
 3   assault weapon for self-defense is over-kill….” Donohue Decl. ¶ 44. Professor
 4   Donahue’s statement is both irrelevant and misleading, and his personal opinion of
 5   what type of firearms should be used for self-defense is irrelevant to the thousands, if
 6   not millions, of gun owners who exercise their right to choose otherwise. Moreover,
 7   the AWCA expansively prohibits common firearms such as a Glock 19 (9mm) or a
 8   Ruger Mark IV .22LR handgun merely because they have a threaded barrel. Indeed,
 9   the AWCA prohibits even “the quintessential self-defense weapon,” semiautomatic
10   handguns. As such, Professor Donohue’s opinions lack credibility.
11         Second, Professor Donohue cites to his own study, “Right-to-carry Laws and
12   Violent Crime: A Comprehensive Assessment Using Panel Data and a State-Level
13   Synthetic Control Analysis,” and claims “the best evidence suggests that increased
14   gun carrying in the population leads to higher rates of violent crime.” Donohue Decl.
15   ⁋12, fn. 1. This study has been subject to heavy criticism for its faulty methods and
16   data. Dillon Decl., Ex. Q. And notably, public carrying of firearms is not at issue in
17   this case; and thus, any opinions on this subject should be rejected as irrelevant.
18         Third, Professor Donohue makes a pair of claims regarding gun ownership in
19   the United States. Relying on a General Social Survey (GSS) to measure gun
20   ownership, Professor Donohue states that “most Americans do not own guns, and
21   most Americans who do own guns do not own assault weapons.” Donohue Decl., ¶
22   20-21. Dillon Decl., Ex. R. For example, the GSS shows that the number of people
23   owning guns in Illinois has been flat over time from 2008 to 2017, with about 1.2
24   million gun owners in the State. However, in Illinois, people must have a FOID card
25   to legally own a gun. The number of FOID cards went from 1.31 million in 2010 to
26   2.10 million in 2017. Id. However, the more common way of evaluating gun
27   ownership numbers is to assess the percentage of homes that own guns. With one
28   exception, those surveys show gun ownership in between approximately 40% to 49%
                                                        – 17 –
        PLAINTIFFS’ SUPPLEMENTAL BRIEF FOLLOWING EVIDENTIARY HEARING ON MOTION FOR PRELIMINARY INJUNCTION
                                            CASE NO. 3:19-cv-01537-BEN-JLB
 Case 3:19-cv-01537-BEN-JLB Document 63 Filed 11/05/20 PageID.5447 Page 19 of 26




 1   of homes. Id. Additionally, Professor Donohue testified that when looking at the
 2   estimates for assault weapons, there are approximately “5 or 6 million different
 3   individuals who own assault weapons.” 10/22/20 Tr. at 81:15-20. Even accepting
 4   Professor Donohue’s claims of this “small fraction” of assault weapon ownership, 5 or
 5   6 million different individuals owning assault weapons far outstrips the numbers of
 6   “bearable handheld electroshock weapons” shown to be in common use for lawful
 7   purposes in Caetano v. Massachusetts, 136 S. Ct. 1027 (2016).
 8         Fourth, in his declaration, Professor Donohue makes multiple references to
 9   school shootings. Professor Donohue states that “[t]he Wall Street Journal analyzed
10   data from the 32 school shootings since 1990 with a least three victims dead or
11   injured. In 25 cases, the shooters were in their teens or younger…” and at least 17
12   obtained their guns from their home or a relative. Donohue Decl., ⁋ 39. He then claims
13   that “[i]n other words, teens who are not eligible to possess assault weapons may take
14   weapons from relatives who legally possess assault weapons in the home to commit
15   mass shootings.” Id. However, the Wall Street Journal analysis did not analyze
16   whether assault weapons were used in these shootings. Further, the simple fact that a
17   prohibited person can break the law and steal a firearm from a lawful gun owner is not
18   sufficient to justify a broad ban on an entire category of lawfully owned firearms.
19         Professor Donohue’s most troubling claim came during his testimony when the
20   Court asked how many of these school shootings involved assault weapons. After
21   confirming that he did not have accurate data, Professor Donohue stated, “if a lot of
22   people are dead, it probably is using a weapon that would have been banned under the
23   Federal Assault Weapon Ban. And if a small number of people are dead, then it
24   probably wasn’t one of the weapons that would have been banned under the Federal
25   Assault Weapons Ban.” 10/22/20 Tr. at 58: 1-8. No evidence or data was used to
26   support such a flawed and biased claim. It should be summarily rejected.
27         Finally, Professor Donohue asserts that there is an increased trend of mass
28   shootings over the last 25 years. He claims that “the long-term secular trend in overall
                                                        – 18 –
        PLAINTIFFS’ SUPPLEMENTAL BRIEF FOLLOWING EVIDENTIARY HEARING ON MOTION FOR PRELIMINARY INJUNCTION
                                            CASE NO. 3:19-cv-01537-BEN-JLB
 Case 3:19-cv-01537-BEN-JLB Document 63 Filed 11/05/20 PageID.5448 Page 20 of 26




 1   crime has been benign over the last 25 years, [but] the opposite is true for the trend in
 2   public mass shootings.” Donohue Decl. ¶¶ 29, 34-35. In support of this assertion,
 3   Professor Donohue references the 2014 FBI study of “active shooter” incidents, and
 4   presents a graph on page 11 of his declaration that appears to indicate a “steep upward
 5   trend in the FBI data charting the growth in active shooter incidents is unmistakable.”
 6   But Professor Donohue’s claims are incorrect and based on faulty data, as shown
 7   below.
 8         First, the 2014 FBI study references “active shooter incidents,” and not public
 9   mass shootings. The term “active shooter” is very broad—“an individual actively
10   engaged in killing or attempting to kill people in a confined and populated area.”
11   Dillon Decl., Ex. S. Notably, this definition does not require that anyone be killed.
12   This is significantly different than any study analyzing “mass shootings,” which
13   generally require at least 3 or 4 victims killed. Further, the 2014 FBI study states,
14   “[t]he study does not encompass all mass killings or shootings in public places and
15   therefore is limited in its scope.” Although the report discusses mass shootings, it
16   never makes clear that these types of fatalities and attacks are not increasing over
17   time. Professor Donohue also fails to make these key distinctions.
18         Second, the 2014 FBI study provided no analysis on whether or not “assault
19   weapons” were used in any of the “active shooter” incidents reviewed. Thus, no
20   reasonable conclusion can be made as to whether the end of the Federal Assault
21   Weapons Ban had any effect on the active shooter incidents analyzed in this study as
22   the firearm(s) that were used in each incident were not considered.
23         Third, the 2014 FBI study suffers from numerous subtle and misleading
24   decisions as well as outright errors in its data collection and analysis. For example, the
25   study missed a large number of mass public shootings that should have been included.
26   Additionally, the graphs are based on many cases that had nothing to do with mass
27   killings or even killings of any kind. Both of these issues work to make it look as if
28   there was a much larger increase in active shooter incidents than actually occurred.
                                                        – 19 –
        PLAINTIFFS’ SUPPLEMENTAL BRIEF FOLLOWING EVIDENTIARY HEARING ON MOTION FOR PRELIMINARY INJUNCTION
                                            CASE NO. 3:19-cv-01537-BEN-JLB
 Case 3:19-cv-01537-BEN-JLB Document 63 Filed 11/05/20 PageID.5449 Page 21 of 26




 1   Over the last four decades, there has been no statistically significant increase in these
 2   kinds of attacks. Dillon Decl., Ex. T.
 3          Specifically, of the 160 cases the 2014 FBI study counts from 2000 to 2013, 32
 4   involved a gun being fired with no deaths. Id., Appendix 2. And 11 of those have
 5   either zero, or just one person wounded. Another 35 involved the death of one single
 6   person. These cases, which should not have been included in any analysis on “mass
 7   killings,” make up 42% of the 160 cases. And these cases do not fit the FBI’s older
 8   definition of mass killings, which requires four or more murders; they also do not fit
 9   the FBI’s new definition of three or more murders. By including this cases where no
10   one is killed, the study invites the production of systematic bias as it is relatively
11   easier to identify more recent public shootings where zero or one person was killed
12   and thus that would tend to produce an upwards, if unintentional, bias in the number
13   of cases over time.9 “In fact, these non-mass shootings, with zero or one person killed,
14   drive much of the purported increase in the number of attacks. Out of the cases where
15   no one or only one person was killed, 50 occurred during the last seven years of the
16   period the FBI examines, and only 17 cases took place during the first seven years. In
17   other words, the later years are padded much more heavily with these extra cases”—
18   which inaccurately shows an increasing trend. Dillon Decl., Ex. T.
19          Additionally, in attempting to analyze “active shooter” incidents, the FBI’s data
20   missed 20 mass shootings where at least two people were killed. Dillon Decl., Ex. T,
21   Appendix 1. Thus, the FBI’s conclusions cannot be considered accurate. These
22   missing cases also have a common trend, in that they “were three times more likely to
23
24   9
      This study derived its data from Google news searches to compile these active
25   shooter cases. Google may be good for finding articles on recent stories, but articles
26   become scarcer as one looks further back in time. For example, there may only be one
     or two stories written about a shooting that took place where no one was killed. By
27   comparison, hundreds of articles are written about mass shootings where many are
28   killed. Over time, the few stories that were posted on the shooting where no one was
     killed will disappear, while the articles on the mass shootings will still be numerous.
                                                         – 20 –
         PLAINTIFFS’ SUPPLEMENTAL BRIEF FOLLOWING EVIDENTIARY HEARING ON MOTION FOR PRELIMINARY INJUNCTION
                                             CASE NO. 3:19-cv-01537-BEN-JLB
 Case 3:19-cv-01537-BEN-JLB Document 63 Filed 11/05/20 PageID.5450 Page 22 of 26




 1   occur in the first half than the second half (15 to 5) of the time period studied. Id.
 2   Thus, again, the missing observations bias the results toward finding a larger increase
 3   over time. Erroneously including non-mass shootings as well as omitting mass
 4   shootings biases the results to make it look as if attacks were increasing.” Id.
 5           Finally, the 2014 FBI study limited its study from 2000 to 2013. However,
 6   when including analysis covering data on mass public shootings from 1977 to 1999,
 7   there is only a slight increase in deaths over 38 years, but even that small upward
 8   trend largely depends on the one highly unusual year—2012, when 91 deaths
 9   occurred. Id.
10           Dr. John R. Lott Jr. analyzed and corrected the 2014 FBI data to only look at
11   cases where at least two people were killed. In so doing, the annual increase in deaths
12   from mass public shootings is cut in half relative to the uncorrected data. However,
13   “the real change in results occurs when the longer period of data is used. Doing that
14   reduces the annual increase to just 0.98%; or just 6% of the increase implied by the
15   2014 FBI data. This change is not statistically significant.” Id.
16           2.      Professor Klarevas’ Declaration and Testimony
17           Defendants’ reliance on Professor Louis Klarevas’ declaration and testimony is
18   similarly misplaced and based upon skewed data. First, in his declaration, one of
19   Professor Klarevas’ main assertions is that “gun massacres are a growing threat to
20   public safety.”10 Klarevas Decl. ¶ 9-11. In support of this claim, Professor Klarevas
21   refers to Figures 1 and 2 in his declaration (“Gun-Massacre Incidents by Decade,
22   1980-2019” and “Gun Massacre Deaths by Decade, 1980-2019.”). Id., ¶ 11, at p. 5.
23   However, this data provides no information regarding assault weapons used in mass
24   shootings.
25
26
27   10
       Note that this portion of Professor Klarevas’ analysis defines “gun massacres” as
28   “high-fatality mass shootings resulting in six or more victims being shot to death.”
     Klarevas Decl. ¶ 11.
                                                          – 21 –
          PLAINTIFFS’ SUPPLEMENTAL BRIEF FOLLOWING EVIDENTIARY HEARING ON MOTION FOR PRELIMINARY INJUNCTION
                                              CASE NO. 3:19-cv-01537-BEN-JLB
 Case 3:19-cv-01537-BEN-JLB Document 63 Filed 11/05/20 PageID.5451 Page 23 of 26




 1         Second, in claiming that “the proportion of gun massacres involving assault
 2   weapons has increased significantly,” Professor Klarevas refers to Decl. Figures 5 and
 3   6, detailing the “percentage of gun massacre incidents involving assault weapons” and
 4   the percentage of gun massacres deaths involving Assault Weapons.” Klarevas Decl.
 5   ¶ 13-14, pgs. 7-8. The most significant problem with Professor Klarevas’ Decl.
 6   Figures 5 and 6 is that they look at periods that do not directly correspond to the
 7   period before, during, and after the 1994-2004 Federal Assault Weapons Ban. By
 8   Professor Klarevas arranging the data in that manner, which analyzes the “Last 3
 9   years,” then the “Last 5 years,” then the “Last 10 years” etc., he makes it appear that
10   there is a consistent upward trend in the rate that assault weapons are used in mass
11   public shootings. But that is a flawed analysis. If the data is analyzed by year periods
12   of time, it becomes clear that the pattern Professor Klarevas shows is an artifact of the
13   unusual way that he presents the data. Said differently, the declining percentage as the
14   time period gets longer is simply because assault weapons were used extensively
15   during the very end of the period (the last 3 years), but Professor Klarevas does not
16   provide any data or substantiated opinion on why assault weapons would suddenly
17   become very popular twelve or more years after the end of the Federal Assault
18   Weapons Ban.
19         Third, Professor Klarevas criticizes Dr. Lott’s review of the 2018 Koper et al.
20   paper, “Criminal Use of Assault Weapons and High-Capacity Semiautomatic
21   Firearms: An Updated Examination of Local and National Sources.” Dr. Lott’s
22   declaration stated that the 2018 Koper study “provides no evidence that murders or
23   mass public shootings were reduced by the [federal] assault weapon ban.” Professor
24   Klarevas claims that Dr. Lott is incorrect as the authors of the study state “available
25   information suggests that AWs and other high-capacity semiautomatics are involved
26   in as many as 57% of [mass murder] incidents. Further, they are particularly
27   prominent in public mass shootings and those resulting in the highest casualty
28   counts.” Klarevas Decl. ¶ 35. However, reviewing the share of attacks for the samples
                                                        – 22 –
        PLAINTIFFS’ SUPPLEMENTAL BRIEF FOLLOWING EVIDENTIARY HEARING ON MOTION FOR PRELIMINARY INJUNCTION
                                            CASE NO. 3:19-cv-01537-BEN-JLB
 Case 3:19-cv-01537-BEN-JLB Document 63 Filed 11/05/20 PageID.5452 Page 24 of 26




 1   collected in the study does not conclude anything about the impact of the law on
 2   murder or crime rates. Dr. Lott’s criticisms are accurate, as the 2018 Koper study
 3   does not mention any crime outcomes in its analysis. In fact, the evidence is to the
 4   contrary. From 2004 to 2014, the City of Baltimore saw a 48.6% increase in recovered
 5   firearms with large capacity magazines (LCMs). However, the murder rate fell 22.2%
 6   from 43.5 to 33.8 per 100,000 during this period. Dillon Decl., Exs. U and V. From
 7   2003 to 2009, in the City of Richmond, there was an 111.5% increase in recovered
 8   firearms with LCMs, yet the murder rate fell 60.9% from 46.5 to 18.2 per 100,000.
 9   Dillon Decl., Exs. W and X. From 2006 to 2014, Minneapolis saw a 49.4% increase
10   in recovered firearms with LCMs. At the same time, the murder rate fell 49.5% from
11   15.18 to 7.66 per 100,000. Dillon Decl. Exs. Y and Z. Thus, even when LCMs and
12   firearms with LCMs increased in numbers, murder rates still fell. Specifically looking
13   at murders of police from 2003 to 2013, there was a 33.6% increase in firearms with
14   LCMs being used in those deaths. However, the number of police murdered fell
15   overall, from 52 to 48. Dillon Decl., Ex. AA. Again, this data shows that Dr. Lott’s
16   conclusions on the 2018 Koper study were accurate. The study “provides no evidence
17   that murders or mass public shootings were reduced by the [federal] assault weapon
18   ban.”
19           Lastly, Professor Klarevas’ declaration and testimony never directly respond to
20   Dr. John Lott’s critique, that if Professor Klarevas’ theory regarding the federal
21   assault weapons ban’s effect is correct, then the share of mass public shootings
22   committed with assault weapons should have declined during the period of the federal
23   assault weapons ban by a statistically significant amount. There was no such decline.
24   E.      THE FIREARMS AT ISSUE ALL USE COMMON CALIBERS.
25           Finally, plaintiffs must correct a gross misrepresentation of the facts fueled by
26   defense witness Christopher B. Colwell, M.D., that the common firearms banned
27   under Penal Code section 30515 somehow fire rounds that “tend to be higher in
28   complexity with higher complication rates than such injuries from non-assault
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                                              CASE NO. 3:19-cv-01537-BEN-JLB
 Case 3:19-cv-01537-BEN-JLB Document 63 Filed 11/05/20 PageID.5453 Page 25 of 26




 1   weapons, increasing the likelihood of morbidity in patients that present injuries from
 2   assault weapons.” (Colwell Decl., ¶ 8.) Dr. Colwell further stated: “In my experience,
 3   assault weapons tend to cause far greater damage to the muscles, bones, soft tissue,
 4   and vital organs. They are too often shredded beyond repair.” (Id.) Dr. Colwell further
 5   proffered an anecdote (a “vivid example”) where he observed that a limb had to be
 6   amputated because it was wounded by an AK-47 rifle round. (Id., ¶ 10.) But Dr.
 7   Colwell had to acknowledge—as a matter of fact and common sense—that “the
 8   wounds can’t be distinguished simply by looking at them in terms of determining
 9   which weapon they are,” further conceding that he was not aware of the weapon used
10   in the case of every wound he saw. (Colwell testimony, 10/22/20 Tr. at 29:25 – 30:4.)
11   He also acknowledged that shotguns, at close distance, created a much bigger and
12   more significant wound. (Id. at 31:23 – 32:14; 33:1-16.) He also had no meaningful
13   experience to distinguish between the intermediate cartridges used in many AR-15
14   and AK-47 firearms (5.56x45mm NATO, and 7.62x39mm, respectively) and higher-
15   powered rounds often used in hunting firearms. (Id. at 34:18 – 35:18.) In other words,
16   Dr. Colwell admitted he would not be able to distinguish between a 5.56mm (i.e., .223
17   Remington, “.223”) wound caused by an AR-15 firearm, and a Ruger Mini-14
18   likewise chambered in .223. (Id. at 30:8-14.)
19         According to NSSF’s James Curcuruto, the most common calibers present in
20   modern semiautomatic rifles is .223, 7.62x.39mm, .22 caliber and .308 caliber.
21   (10/19/20 Tr. at 65:7-10). Of these, the overwhelming majority caliber is .223, in 70%
22   of modern semiautomatic rifles, “especially the AR-15 model.” (Id. at 65:25 – 66:5).
23   Most AK-platform rifles are chambered in 7.62x39mm. (Id. at 66:6-8). These are what
24   are called “intermediate cartridges.” (See, Youngman testimony, 10/19/20 Tr. at
25   90:11-13; Margulies Decl., Ex. 2-004.) These intermediate cartridges have limited
26   penetration capabilities. (See Youngman testimony, 10/19/20 Tr. 91:4-8; Kapelsohn
27   Decl., ¶ 26, Exhs. 8-10.) And all rifle rounds can penetrate body armor that is not
28   specifically rated to withstand it. (Youngman testimony, 10/19/20 Tr. at 94:4-22;
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                                            CASE NO. 3:19-cv-01537-BEN-JLB
 Case 3:19-cv-01537-BEN-JLB Document 63 Filed 11/05/20 PageID.5454 Page 26 of 26




 1   Margulies Decl., ¶ 13). “The intermediate cartridges used in assault rifles possess
 2   significantly less kinetic energy than traditional military cartridges as well as rifle
 3   cartrid ges designed for hunting. Therefore, it is impossible for an intermediate-power
 4   rifle cartridge to produce severer injuries than a full-power rifle cartridge, all other
 5   factors being equal.” (DiMaio, Gunshot Wounds, Practical Aspects of Firearms,
 6   Ballistics, and Forensic Techniques (2d ed. 1999), found at Margulies Decl., Exh. 2-
 7   005.) And these “higher powered” rounds, such as 7.62x51mm (.308), are nearly
 8   identical to the .308 Winchester, which is the most common deer hunting round in this
 9   country. (Youngman testimony, Tr. at 93:9-12.) All of these cartridges are used for all
10   manner of lawful purposes, including self-defense, target shooting, and hunting.
11   Defendants’ fantastical effort to hide their ban behind a caliber curtain using the
12   strawman of weapon chambering should be put to rest. A rose by any other name is
13   still a rose, and a .223 cartridge fired from an “assault weapon” is still just a .223.
14
     Dated: November 5, 2020                        SEILER EPSTEIN LLP
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16                                                  /s/ George M. Lee
17                                                  George M. Lee

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                                                        – 25 –
        PLAINTIFFS’ SUPPLEMENTAL BRIEF FOLLOWING EVIDENTIARY HEARING ON MOTION FOR PRELIMINARY INJUNCTION
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